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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA

                                        Abingdon Division

BRANDON BLEVINS,

                       Plaintiff

v.                                                     Case No. 1:19-CV-00010

TRAVIS HAYTON,
                       Defendant

                       STIPULATION OF VOLUNTARY DISMISSAL

       Come now the parties, by counsel, pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(ii) and stipulate that, upon motion of the Plaintiff for voluntary dismissal, that this

action shall be, and hereby is, DISMISSED, without prejudice.

       Stipulated this 18th day of November, 2019.

                                       BRANDON BLEVINS

               BY COUNSEL              Michael A. Bragg     /s/
                                       Michael A. Bragg (VSB No. 16797)
                                       Bragg Law
                                       P. O. Box 1866
                                       Abingdon, Virginia 24212
                                       276-628-9160



                                       TRAVIS HAYTON

               BY COUNSEL:              /s/ Julian F. Harf
                                       Julian F. Harf (VSB #90775)
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